                                                                               Motion GRANTED.
                                                                               Extension to 3/1/2017.




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                                    )     No. 3:16-CR-00176-006
vs,                                 )     JUDGE TRAUGER
                                    )
JOEDON BRADLEY                      )
________________________________________________________________________

       MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS
________________________________________________________________________

       Comes the defendant Joedon Brandley, by and through counsel, to file A Motion for

Extension of time to file pretrial motions, which deadline is set by Local Rule at 28 days

following arraignment, LCrR12.01(b), and would show the following:

       Mr. Bradley was in Court for Arraignment on the Second Superseding Indictment in

this case on December 23, 2016. Counsel received discovery on or about January 7, 2017,

and January 10, 2017. Discovery was provided on 12 computer discs and 3 flash drives.

Apparently at this time a trial date has not been set, in part because co-defendant counsel

requested a continuance of trial on the Superseding Indictment, which was granted, with trial

to be set at a later date. (Docket entry 61, 10/31/2016)

       Because of the extensive discovery provided, counsel submits that it would be

appropriate to extend the pretrial motions for 35 days, or to March 1, 2017.


                                      Respectfully submitted,
                                      /S/ THOMAS J. DRAKE
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